Case:17-03283-LTS Doc#:14637-2 Filed:10/20/20 Entered:10/20/20 13:00:41   Desc:
                           Exhibit B Page 1 of 6



                                   Exhibit B

                      Schedule of ADR/ACR Eligible Claims
                                  Case:17-03283-LTS Doc#:14637-2 Filed:10/20/20 Entered:10/20/20 13:00:41                                                     Desc:
                                                             Exhibit B Page 2 of 6

                                                                    One Hundred and Second Omnibus Objection
                                                                  Exhibit B - Schedule of ADR/ACR Eligible Claims
                                                                                                                                                                                       ASSERTED CLAIM
    NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
1   MASSA DIEPPA, HILDA                                                                     6/22/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      76464              $ 75,000.00*
    CALLE 8 F1-48 CIUDAD MASSO
    SAN LORENZO, PR 00754

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
2   MASSA DIEPPA, HILDA                                                                     6/22/2018      17 BK 03566-LTS Employees Retirement System of the               63107               $ 75,000.00
    CALLE 8 F1-48                                                                                                          Government of the Commonwealth
    CIUDAD MASSO                                                                                                           of Puerto Rico
    SAN LORENZO, PR 00754

    Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
    supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
    whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
3   MATIAS SALAS, ADA M.                                                                     6/1/2018      17 BK 03566-LTS Employees Retirement System of the               45916           Undetermined*
    URB LOS JARDINES                                                                                                       Government of the Commonwealth
    115 CALLE FLOR DE LIS                                                                                                  of Puerto Rico
    GARROCHALES, PR 00652-9418

    Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
    supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
    whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
4   MATTEI SAEZ, ELGA I                                                                     6/29/2018      17 BK 03566-LTS Employees Retirement System of the               108256              $ 10,000.00
    URB CAMPO ALEGRE                                                                                                       Government of the Commonwealth
    F2 CALLE LAUREL                                                                                                        of Puerto Rico
    BAYAMON, PR 00956

    Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
    supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
    whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
5   MEDINA- DURAN, MADELINE                                                                 6/27/2018      17 BK 03566-LTS Employees Retirement System of the               105363              $ 75,000.00
    HC 08 BOX 266                                                                                                          Government of the Commonwealth
    PONCE, PR 00731-9445                                                                                                   of Puerto Rico

    Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
    supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
    whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
6   MEDINA NUNEZ, JULIA A.                                                                  6/29/2018      17 BK 03566-LTS Employees Retirement System of the               78114              $ 55,000.00*
    F 126 URB SANTA MARIA                                                                                                  Government of the Commonwealth
    SABANA GRANDE, PR 00637                                                                                                of Puerto Rico

    Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
    supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
    whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors


            * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 1 of 5
                                   Case:17-03283-LTS Doc#:14637-2 Filed:10/20/20 Entered:10/20/20 13:00:41                                                     Desc:
                                                              Exhibit B Page 3 of 6

                                                                     One Hundred and Second Omnibus Objection
                                                                   Exhibit B - Schedule of ADR/ACR Eligible Claims
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
7    MELENDEZ CRUZ, SANDRA D.                                                                 6/7/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      49510           Undetermined*
     RR-03 BOX 10155-25
     TOA ALTA, PR00953

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
8    MELENDEZ RIVERA, IVETTE                                                                 5/21/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      32686           Undetermined*
     E-27 CALLE NEISY
     CAGUAS, PR 00725

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
9    MENDEZ PAGAN, JAVIER                                                                    5/30/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      41228           Undetermined*
     BO PUEBLO
     287 CALLE RAMON PELLOT
     MOCA, PR 00676

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
10   MERCADO BENIQUEZ, ALMA N                                                                 6/7/2018      17 BK 03566-LTS Employees Retirement System of the               79487           Undetermined*
     PO BOX 206                                                                                                             Government of the Commonwealth
     ISABELA, PR 00662                                                                                                      of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
11   MERCADO NIEVES, HILDA L                                                                  6/6/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      73517           Undetermined*
     32 CALLE CASIMIRO PEREZ
     ISABELA, PR 00662

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
12   MERCADO VARGAS, CLARIBEL W                                                              5/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      31789           Undetermined*
     URB LOS ROBLES
     198 CALLE LOS ROBLES
     MOCA, PR 00676

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 2 of 5
                                   Case:17-03283-LTS Doc#:14637-2 Filed:10/20/20 Entered:10/20/20 13:00:41                                                     Desc:
                                                              Exhibit B Page 4 of 6

                                                                     One Hundred and Second Omnibus Objection
                                                                   Exhibit B - Schedule of ADR/ACR Eligible Claims
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
13   MERCADO VARGAS, MARIBEL S                                                               5/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      32026           Undetermined*
     CALLE LOS ROBLES # 198
     URB LOS ROBLES
     MOCA, PR 00676

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
14   MERCED CLEMENTE, OSVALDO                                                                6/22/2018      17 BK 03566-LTS Employees Retirement System of the               109956              $ 53,355.02
     121-14 - FOREST HILL                                                                                                   Government of the Commonwealth
     BAYAMON, PR 00959                                                                                                      of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
15   MIRANDA PEREZ, LUZ                                                                      5/30/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      41355           Undetermined*
     PO BOX 643
     JUNCOS, PR 00777

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
16   MIRANDA QUINONES, RUTH NOEMI                                                             7/2/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      57624           Undetermined*
     URB. SANTA MARIA
     CALLE SANTA BARBARA C-17
     TOA BAJA, PR 00949

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
17   MONGE REYES, WANDA I.                                                                   6/28/2018      17 BK 03566-LTS Employees Retirement System of the               73656           Undetermined*
     HACIENDA BORINQUEN 1024                                                                                                Government of the Commonwealth
     CALLE UCAR                                                                                                             of Puerto Rico
     CAGUAS, PR 00725

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
18   MONTALVO VAZQUEZ, CARLOS A.                                                             5/15/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      33507           Undetermined*
     PAM.RAGO CAURAS CALLE LUNA 620.125
     SABANA GRANDE, PR 00637

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 3 of 5
                                   Case:17-03283-LTS Doc#:14637-2 Filed:10/20/20 Entered:10/20/20 13:00:41                                                     Desc:
                                                              Exhibit B Page 5 of 6

                                                                     One Hundred and Second Omnibus Objection
                                                                   Exhibit B - Schedule of ADR/ACR Eligible Claims
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
19   MONTANEZ RIVERA, MARISOL                                                                 6/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      46264           Undetermined*
     HC2 BOX 8624
     YABUCOA, PR 00767

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
20   MORALES RIVERA, IRVING                                                                  6/28/2018      17 BK 03566-LTS Employees Retirement System of the               88788               $ 75,000.00
     APARTADO621                                                                                                            Government of the Commonwealth
     PUERTO REAL, PR 00740                                                                                                  of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
21   MORAN, JULIA                                                                            6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      66423           Undetermined*
     CALLE JOVELLANOS 1 E-1
     URB COVADONGA
     TOA BAJA, PR 00949

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
22   MUNIZ SUAREZ, JUAN B                                                                    3/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      4981            Undetermined*
     HC3 BOX 9050
     MOCA, PR 00676

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
23   MUNOZ PEREZ, MARIA DE LOS A                                                             5/18/2018      17 BK 03566-LTS Employees Retirement System of the               20064              $ 129,540.48
     VILLA NEVAREZ                                                                                                          Government of the Commonwealth
     1091 CALLE 3                                                                                                           of Puerto Rico
     SAN JUAN, PR 00927

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
24   MURIEL LOPEZ, EDDIER J.                                                                 5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      84268              $ 20,000.00*
     CALLE 1 325 APT 5.
     JARDINES DE MONTE ALTO
     TRUJILLO ALTO, PR 00976

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 4 of 5
                                   Case:17-03283-LTS Doc#:14637-2 Filed:10/20/20 Entered:10/20/20 13:00:41                                                     Desc:
                                                              Exhibit B Page 6 of 6

                                                                     One Hundred and Second Omnibus Objection
                                                                   Exhibit B - Schedule of ADR/ACR Eligible Claims
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
25   MURIEL SANCHEZ, AGUSTINA                                                                6/27/2018      17 BK 03566-LTS Employees Retirement System of the               106270             $ 84,208.38*
     MANSIONES DE GUAYNABO                                                                                                  Government of the Commonwealth
     E 9 CALLE 5                                                                                                            of Puerto Rico
     GUAYNABO, PR 00969

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
26   MURIEL SUSTACHE, MARISELA                                                               5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      26956           Undetermined*
     PO BOX 1832
     YABUCOA, PR 00767-1832

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
27   MURIEL SUSTACHE, MARISELA                                                               5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      26403           Undetermined*
     PO BOX 1832
     YABUCOA, PR 00767-1832

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
28   MURIEL SUSTACHE, MARISELA                                                               5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      40832           Undetermined*
     PO BOX 1832
     YABUCOA, PR 00767-1832

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
29   NAVARRO CANCEL, IVELISSE                                                                5/22/2018      17 BK 03566-LTS Employees Retirement System of the               29152              $ 128,147.40
     CALLE 34 S-O # 1686                                                                                                    Government of the Commonwealth
     URB. LAS LOMAS                                                                                                         of Puerto Rico
     SAN JUAN, PR 00921

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
30   NEGRON MILLAN, YVONNE                                                                   5/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      35432              $ 37,431.20*
     SANTA MARIA MAYOR#75
     CALLE 8 A-10
     HUMACAO, PR 00791

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
                                                                                                                                                                       TOTAL                    $ 817,682.48*




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 5 of 5
